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                    IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF UTAH


 In the matter of the application for      Case No. 2:24mj817 CMR
 authorization to search one (1) United
 States Postal Service (USPS) Priority     AFFIDAVIT IN SUPPORT OF
 Mail Parcel No.                           APPLICATION FOR SEARCH WARRANT
 9505513409884225515175 more fully
 described in Attachment A                 The Honorable Cecilia M. Romero
                                           United States Magistrate Judge




                                    AFFIDAVIT

   I, Megan E. Moore, being duly sworn, hereby depose and say:

   1.    I am a Postal Inspector assigned to the United States Postal Inspection Service

         (USPIS), Phoenix Division, domiciled in Salt Lake City, Utah. I have been

         employed by the United States Postal Inspection Service since July 2014. In

         October 2014, I successfully completed the 12-week United States Postal

         Inspection Service Basic Inspector Training Program at the Career

         Development Unit located in Potomac, Maryland. Prior to that, I was an Asset

         Forfeiture Specialist with USPIS. In May 2022, I successfully completed a



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       temporary duty assignment as an instructor for the now 16-week United States

       Postal Inspection Service Basic Inspector Training Program in Potomac,

       Maryland.

 2.    I have conducted numerous investigations involving various violations of

       federal law, to include controlled substances being transported via the United

       States Mails. As part of my duties as a Postal Inspector, I investigate crimes

       involving the United States Mail including Title 18, United States Code,

       Sections 1716, Nonmailable Matter, 1956, Laundering of Monetary

       Instruments, and Title 21, United States Code, Sections 841(a)(1), Possession

       with Intent to Distribute a Controlled Substance, and 843(b), Unlawful use of a

       Communications Facility to Facilitate the Distribution of a Controlled

       Substance.

 3.    The facts and information contained in this affidavit reflect either my personal

       knowledge and experience, or the knowledge and experience of other law

       enforcement officers and postal employees. Since this affidavit is being

       submitted for the limited purpose of securing a search warrant from the court, I

       have not included each and every fact known to me concerning this

       investigation. I have set forth only the facts that I believe are necessary to

       establish probable cause for the search warrant.

 4.    Based on my training and experience, I am aware that the United States Postal

       Service mail system is frequently used to transport illicitly used drugs,

       including controlled substances and money associated with drug trafficking


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       and other illicit activities, to areas throughout the United States. I also know

       that many subjects prefer mail/delivery services such as Priority Mail and

       Priority Mail Express because of the reliability and the ability to track the

       article’s progress to the intended delivery point.

 5.    Based on my training and experience regarding the use of Priority Mail, I am

       aware it was created as a less expensive choice than Express Mail overnight

       delivery, but designed to provide a quicker, more reliable service than standard

       First-Class Mail. Although a customer mailing an article via Express Mail

       expects next day service, when they mail an article via Priority Mail the Postal

       Service provides 2–3-day delivery.

 6.    Based on my training and experience regarding the use of Priority Mail for the

       transportation of controlled substances through the U.S. Mail, I know these

       types of mailings often bear the following characteristics:

       a. They often contain handwritten address information and are being mailed

          from one individual to another;

       b. They are often paid for using cash to avoid detection by law enforcement;

       c. The parcel either: (a) was destined for an area known to be a frequent

          destination point for controlled substances, having been mailed from an

          area known to be a source area for controlled substances; or (b) originated

          from an area known to be a frequent origination point for the proceeds from

          the sales of controlled substances, having been mailed to an area known to




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          be a destination area for the proceeds from the sales of controlled

          substances.

       d. They often contain heavily taped around every seam to avoid detection by a

          drug detecting K-9.

 7.    Based on my training and experience, I know drug traffickers will often use

       fictitious or incomplete names and/or addresses in an attempt to conceal their

       identity from law enforcement. Address verifications are conducted and the

       return addresses listed on the articles are often either fictitious or sender names

       are not associated with the address.

 8.    Articles found to bear the characteristics described above are further

       investigated by inspectors.

 9.    This affidavit is made in support of an application for a search warrant on (1)

       United States Postal Service Priority Mail parcel (hereinafter referred to as

       SUBJECT PARCEL). The SUBJECT PARCEL is believed to contain illicit

       drugs as part of a drug trafficking scheme. The SUBJECT PARCEL is

       described as follows:

          The SUBJECT PARCEL is a United States Postal Service Priority Mail

          Parcel Tracking No. 9505513409884225515175, addressed to “Mr and Mrs

          Anderson 492 North 1060 West number 1 Orem Utah 84057”, with a return

          address of “Michelle Tanner 1340 W Vermont Ave Phoenix AZ 85013”,

          shipped August 12, 2024, via the United States Postal Service (USPS)

          weighing 8 lbs. 11 oz, with postage affixed in the amount of $17.75.


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                        BACKGROUND INVESTIGATION

 10.   During May 2024, I received information the address 492 N 1060 W Apt 1,

       Orem, UT 84057, had received approximately five USPS parcels from

       Phoenix, AZ, a known source location for drugs, since February. All parcels

       were paid for using cash and weighing between one and a half pounds to just

       over five pounds. Further research found the primary resident at that address,

       Justin Wilkinson, is a convicted felon with a lengthy criminal history, to

       include multiple drug offenses. Based on that information, I began monitoring

       the address.

 11.   On August 12, 2024, I received a notification that the SUBJECT PARCEL

       was inbound for delivery to the aforementioned address.

 12.   On August 15, 2024, the SUBJECT PARCEL arrived at the Orem Main Post

       Office, Orem, Utah, for delivery and at my request was held for further

       investigation.

 13.   A review of the SUBJECT PARCEL revealed it met all the characteristics

       described in Paragraph No. 6 including a handwritten label, heavily taped

       seams, paid for using cash, mailed from one individual to another, and mailed

       from a known narcotic source mailing location.




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 14.   The recipient address listed “Mr and Mrs Anderson 492 North 1060 West

       number 1 Orem Utah 84057” however, as part of this investigation I am aware

       no one by the last name Anderson resides at that location.

 15.   The sender address of “Michelle Tanner 1340 W Vermont Ave Phoenix AZ

       85013” was queried via CLEAR, a database accessible to law enforcement

       officers, and the results indicated the address is a valid delivery address

       however “Michelle Tanner” does not associate with the address.

 16.   Later in the day on August 15, 2024, Orem Police Department encountered

       Justin Wilkinson outside of his residence as part of a separate investigation. A

       search warrant was subsequently executed at Wilkinson’s residence (the

       address listed on the SUBJECT PARCEL). Seized during the search was over

       $12,000 U.S. Currency, 2 grams of methamphetamine, drug paraphernalia,

       THC vapes, bud, and dab, Suboxone, and Naloxone, among other items.

       Additionally, detectives witnessed the following screen containing the

       SUBJECT PARCEL tracking number on Wilkinson’s phone:




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 17.   Wilkinson was read his Miranda Rights and agreed to speak with detectives.

       Detectives questioned Wilkinson about the SUBJECT PARCEL. Wilkinson

       responded that he was anticipating the delivery of the parcel and believed it

       would contain approximately seven pounds of methamphetamine and 1,000

       fentanyl-laced pills. Of note, the parcel weighs 8 lbs. 11 oz. and is therefore

       consistent with Wilkinson’s information.

 18.   On August 16, 2024, Orem Police Officer M. Nield utilized his narcotics

       trained canine Floki to sniff the SUBJECT PARCEL. Officer Nield and K-9

       Floki have been POST certified since June 2024.

 19.   At the time, the SUBJECT PARCEL was in the Orem Post Office. The

       SUBJECT PARCEL was placed in a line among three USPS control parcels.

       Officer Nield was not made aware of which parcel was the SUBJECT



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       PARCEL. Officer Nield led Floki to the area where the SUBJECT PARCEL

       and three control parcels were located and allowed Floki to move freely. When

       Floki arrived at the SUBJECT PARCEL, Officer Nield relayed to me that

       Floki did visibly alert/indicate to the odor of narcotics emanating from the

       SUBJECT PARCEL.

                                     CONCLUSION

 20.   Based on the above information, I believe there is probable cause to support a

       search warrant for the SUBJECT PARCEL based on the following:

              a. The SUBJECT PARCEL originated from a known source location;

              b. The SUBJECT PARCEL was paid for using cash;

              c. The SUBJECT PARCEL contains a handwritten label;

              d. The SUBJECT PARCEL contains heavily taped seams;

              e. The sender name listed on the SUBJECT PARCEL does not

                 associate with the sender address;

              f. The addressee name listed on the SUBJECT PARCEL does not

                 associate with the delivery address;

              g. Post-Miranda Justin Wilkinson identified himself as the intended

                 recipient of the SUBJECT PARCEL and stated the SUBJECT

                 PARCEL would contain seven pounds of methamphetamine and

                 1,000 fentanyl-laced pills;

              h. K-9 Floki alerted/indicated to the odor of narcotics emanating from

                 the SUBJECT PARCEL.


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   21.    Based on the aforementioned facts, your Affiant believes there is probable

          cause to believe that the SUBJECT PARCEL described in paragraph No. 9

          contains controlled substances and/or proceeds from the trafficking of

          controlled substances, or other illegal activities that involve the movement of

          drugs, constituting evidence of violations of Title 18, United States Code,

          Section 1716, Nonmailable Matter, Title 21, United States Code, Sections

          841(a)(1), Possession with Intent to Distribute a Controlled Substance, 843(b),

          Unlawful use of a Communication Facility to Facilitate the Distribution of a

          Controlled Substance.




                                   /s Megan E. Moore
                                   Megan E. Moore
                                   United States Postal Inspector


The affiant appeared before me by video conference on this date pursuant to Fed. R.
Crim. P. 4.1 and affirmed under oath the content of this affidavit and application on this
19th day of August 2024.


                                   ____________________________________
                                   The Honorable Cecilia M. Romero
                                   United States Magistrate Judge
                                   District of Utah




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                                      Attachment A

      The SUBJECT PARCEL is a United States Postal Service Priority Mail Parcel

Tracking No. 9505513409884225515175, addressed to “Mr and Mrs Anderson 492 North

1060 West number 1 Orem Utah 84057”, with a return address of “Michelle Tanner 1340

W Vermont Ave Phoenix AZ 85013”, shipped August 12, 2024, via the United States

Postal Service (USPS) weighing 8 lbs. 11 oz, with postage affixed in the amount of

$17.75.

      The SUBJECT PARCEL is being held at the United States Postal Inspection

Service (USPIS) Salt Lake City, Utah Domicile, and has been held at the USPIS Salt

Lake City, Utah Domicile since August 16, 2024.

      Parcel Images:




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                                     Attachment B

                                  ITEMS TO BE SEIZED

A United States Postal Service Priority Mail Parcel Tracking No.

9505513409884225515175, addressed to “Mr and Mrs Anderson 492 North 1060 West

number 1 Orem Utah 84057”, with a return address of “Michelle Tanner 1340 W

Vermont Ave Phoenix AZ 85013”, shipped August 12, 2024, and its contents, to include

controlled substances and/or proceeds from the trafficking of controlled substances, or

any documents or items showing names and addresses or persons from whom or to whom

the package was sent and/or any items of contraband, constituting evidence of violations

of Title 18, United States Code, Section 1716 - Nonmailable Matter, Title 21, United

States Code, Sections 841(a)(1) - Possession with Intent to Distribute a Controlled

Substance, and 843(b) - Unlawful use of a Communication Facility to Facilitate the

Distribution of a Controlled Substance.




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